AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and address)

Case No. } ‘ 24 MS (22

The Premises Located at 100 Village Circle Way,
Apartment 532, Durham, NC 27713

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APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A hereto and incorporated herein by reference

located in the Middle District of North Carolina , there is now concealed (identify the
person or describe the property to be seized):
See Attachment D hereto and incorporated herein by reference

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
evidence of a crime;
wh contraband, fruits of crime, or other items illegally possessed;
a property designed for use, intended for use, or used in committing a crime;
0 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. § 2252A(a)(2)(A) Receiving or Distributing Child Pornography
18 U.S.C. § 2252A(a)(5)(B) Possessing or Accessing with Intent to View Child Pornography

The application is based on these facts:
See attached affidavit which is attached hereto and incorporated herein by reference

a Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 days: ) is requested under
18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

/S/William Thompson

Applicant's signature

William D. Thompson, SA, HSI

Printed name and title

SMa to by the ce in ac mee ew eld requirements of Fed. R. Crim. P. 4.1 by
theplert "

(specify reliable electronic means).

Date: orfoxlou f

City and state; Greensboro, North Carolina L. Patrick Auld, United States Magistrate Judge

i Judge ’s signature

Printed name and title

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AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH
WARRANT

I, William D. Thompson, a Special Agent (“SA”) with Homeland Security
Investigations (“HSI”), being duly sworn, depose and state as follows:

INTRODUCTION

1. I am investigating offenses related to child sexual exploitation.
This Affidavit is submitted in support of applications under Rule 41 of the
Federal Rules of Criminal Procedure for warrants to search the premises
located at 100 Village Circle Way, Apartment 532, Durham, North Carolina
27713 (the “SUBJECT PREMISES”), more specifically described in
Attachment A, Alec Joseph WHITE’s person, more specifically described in
Attachment B, and a 2019 Toyota Camry, registered to Alec Joseph WHITE
and assigned North Carolina license plate number B124CP (the “SUBJECT
VEHICLE), more specifically described in Attachment C, for contraband and
evidence, fruits, and instrumentalities of violations of Title 18 U.S.C.
§§ 2252A(a)(2)(A) and 2252A(a)(5)(B), which items are more specifically
described in Attachment D.

2. The statements in this Affidavit are based in part on information
provided by other law enforcement officers and on my investigation of this

matter. Since this Affidavit is being submitted for the limited purpose of

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securing a search warrant, I have not included each, and every fact known to
me concerning this investigation. I have set forth only the facts that I believe
are necessary to establish probable cause to believe that contraband and
evidence, fruits, and instrumentalities of violations of Title 18 U.S.C. §§
2252A(a)(2)(A) and 2252A(a)(5)(B) are presently located at the SUBJECT
PREMISES, on the person of Alec Joseph WHITE, and in the SUBJECT
VEHICLE.

AFFIANT BACKGROUND

3. Iam a SA of the U.S. Department of Homeland Security (“DHS”),
HSI, formerly the United States Customs Service (“USCS”), having been so
employed since December 2001, and I am currently assigned to the HSI
Raleigh office in Cary, North Carolina. While employed by HSI, I have
investigated federal criminal violations related to high technology and
cybercrime, child exploitation, child pornography, and child molestation. I
have received training from the Federal Law Enforcement Training Center
(‘“FLETC”) and other law enforcement agencies in the areas of child
exploitation and pornography investigations and pedophile behavior. As part
of my current duties, I investigate criminal violations relating to child
exploitation and child pornography, including violations pertaining to the

illegal production, distribution, receipt, and possession of child pornography. I

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have had the opportunity to observe and review numerous examples of child
pornography as defined in 18 U.S.C. § 2256 in various forms of media,
including computer media. In addition, I have participated in the execution of
numerous search warrants involving child exploitation, child pornography,
and child molestation offenses and I am in routine contact with experts in the
fields of computers, computer forensics and Internet investigations.

A. Moreover, I am a federal law enforcement officer who is engaged
in enforcing the criminal laws, including 18 U.S.C. §§ 2251, 2252, and 2252A,
and I am authorized by law to request a search warrant.

STATUTORY AUTHORITY

Bi. As noted above, this investigation concerns alleged violations of

the following:
a. 18 U.S.C. § 2252A(a)(2)(A) prohibits a person from
knowingly receiving or distributing child pornography, as defined in 18 U.S.C.
§ 2256(8), using any means and facility of interstate and foreign commerce,
that has been mailed, or that has been shipped and transported in and
affecting interstate and foreign commerce by any means, including by
computer. Attempts and conspiracies are also violations of this statute. 18

U.S.C. § 2252A(b)(1).

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i 18 U.S.C. § 2252A(a)(5)(B) prohibits a person from
knowingly possessing or knowingly accessing with intent to view any material
that contains an image of child pornography, as defined in 18 U.S.C. § 2256(8),
that has been mailed, shipped or transported using any means or facility of
interstate or foreign commerce or in or affecting interstate or foreign commerce
by any means, including by computer, or that was produced using materials
that have been mailed or shipped or transported in or affecting interstate or
foreign commerce by any means, including by computer. Attempts and
conspiracies are also violations of this statute. 18 U.S.C. § 2252A(b)(2).

DEFINITIONS

6. The following definitions apply to this Affidavit and Attachment:
al. “Chat,” as used herein, refers to any kind of text
communication over the Internet that is transmitted in real-time from sender
to receiver. Chat messages are generally short to enable other participants to
respond quickly and in a format that resembles an oral conversation. This
feature distinguishes chatting from other text-based online communications
such as Internet forums and email.
b. “Child erotica,” as used herein, means materials or items

that are sexually arousing to persons having a sexual interest in minors but

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that are not necessarily obscene or do not necessarily depict minors engaging
in sexually explicit conduct.

é. “Child pornography,” as defined in 18 U.S.C. § 2256(8), is
any visual depiction, including any photograph, film, video, picture, or
computer or computer-generated image or picture, whether made or produced
by electronic, mechanical or other means, of sexually explicit conduct, where
(a) the production of the visual depiction involved the use of a minor engaged
in sexually explicit conduct, (b) the visual depiction is a digital image,
computer image, or computer-generated image that is, or is indistinguishable
from, that of a minor engaged in sexually explicit conduct, or (c) the visual
depiction has been created, adapted, or modified to appear that an identifiable
minor is engaged in sexually explicit conduct. Child Sex Abuse Material or
“CSAM” has the same meaning.

d. “Computer,” as used herein, refers to “an electronic,
magnetic, optical, electrochemical, or other high-speed data processing device
performing logical or storage functions, and includes any data storage facility
or communications facility directly related to or operating in conjunction with
such device” and includes smartphones, other mobile phones, and other mobile

devices.

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e. “Computer hardware,” as used herein, consists of all
equipment that can receive, capture, collect, analyze, create, display, convert,
store, conceal, or transmit electronic, magnetic, or similar computer impulses
or data. Computer hardware includes any data-processing devices (including
central processing units, internal and peripheral storage devices such as fixed
disks, external hard drives, “thumb,” “jump,” or “flash” drives, which are small
devices that are plugged into a port on the computer, and other memory storage
devices); peripheral input/output devices (including keyboards, printers, video
display monitors, and related communications devices such as cables and
connections); as well as any devices, mechanisms, or parts that can be used to
restrict access to computer hardware (including physical keys and locks).

f “Computer passwords and data security devices,” as used
herein, consist of information or items designed to restrict access to or hide
computer software, documentation, or data. Data security devices may consist
of hardware, software, or other programming code. A password (a string of
alpha-numeric characters) usually operates what might be termed a digital key
to “unlock” particular data security devices. Data security hardware may
include encryption devices, chips, and circuit boards. Data security software
may include programming code that creates “test” keys or “hot” keys, which

perform certain pre-set security functions when touched. Data security

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software or code may also encrypt, compress, hide, or “booby- trap” protected
data to make it inaccessible or unusable, as well as reverse the process to
restore it.

g, The “dark web,” is a portion of the “deep web!” of the
Internet, where individuals must use an anonymizing software or application
called a “darknet” to access content and websites. Within the dark web,
criminal marketplaces operate, allowing individuals to buy and sell illegal
items, such as drugs, firearms, and other hazardous materials, with greater
anonymity than is possible on the traditional Internet (sometimes called the
“clear web” or simply the “web”). These online market websites use a variety
of technologies, including the Tor network (defined below) and other encryption
technologies, to ensure that communications and transactions are shielded
from interception and monitoring. Famous dark web marketplaces, also called
Hidden Services, such as Silk Road, AlphaBay, and Hansa (all of which have
since been shut down by law enforcement), operated similarly to clear web
commercial websites such as Amazon and eBay, but offered illicit goods and

services.

|The deep web is the portion of the Internet not indexed by search engines.
Examples are databases and internal networks belonging to private industry,
government agencies, or academic institutions.

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h. The “Domain Name System” or “DNS” is a system that
translates readable Internet domain names such as www.justice.gov into the
numerical Internet protocol addresses of the computer server that hosts the
website.

Te “Geolocated,” as used herein, refers to the identification of
the geographical location of (a person or device) by means of digital information
processed via the Internet.

1: A “hash value” is a unique multi-character number that is
associated with a computer file. Some computer scientists compare a hash
value to an electronic fingerprint in that each file has a unique hash value. Any
identical copy of the file will have exactly the same hash value as the original,
but any alteration of the file, including even a change of one or two pixels,
would result in a different hash value. Hash values represent large
amounts of data as much smaller numeric values, so they are used with digital
signatures.

k. A “hidden service,” also known as an “onion service,” is a
website or other web service that is accessible only to users operating within
the Tor anonymity network.

1. ‘Tnternet Service Providers” (“ISPs”), as used herein, are

commercial organizations that are in business to provide individuals and

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businesses access to the Internet. ISPs provide a range of functions for their
customers including access to the Internet, web hosting, email, remote storage,
and co-location of computers and other communications equipment.

m. An “Internet protocol address” or “IP address,” (IP) as used
herein, refers to a unique numeric or alphanumeric string used by a computer
or other digital device to access the Internet. Every computer or device
accessing the Internet must be assigned an IP address so that Internet traffic
sent from and directed to that computer or device may be directed properly
from its source to its destination. Most ISPs control a range of IP addresses. IP
addresses can be “dynamic,” meaning that the ISP assigns a different unique
number to a computer or device every time it accesses the Internet. IP
addresses might also be “static,” if an ISP assigns a user’s computer a
particular IP address that is used each time the computer accesses the
Internet. ISPs typically maintain logs of the subscribers to whom IP addresses
are assigned on particular dates and times.

n. The “Internet” is a global network of computers and other
electronic devices that communicate with each other. Due to the structure of
the Internet, connections between devices on the Internet often cross state and
international borders, even when the devices communicating with each other

are in the same state.

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O. “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any
person under the age of eighteen years.

Hi: “Mobile application” or “chat application,” as used herein,
are small, specialized programs downloaded onto mobile devices, computers
and other digital devices that enable users to perform a variety of functions,
including engaging in online chat and sending or receiving images and videos.

q. “Records,” “documents,” and “materials,” as used herein,
include all information recorded in any form, visual or aural, and by any
means, whether in handmade, photographic, mechanical, electrical, electronic,
or magnetic form.

¥ “Remote computing service”, as defined in 18 U.S.C. §
2711(2), is the provision to the public of computer storage or processing services
by means of an electronic communications system.

S. “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2),
means actual or simulated (a) sexual intercourse, including genital-genital,
oral-genital, anal-genital, or oral-anal, whether between persons of the same
or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or masochistic
abuse; or (e) lascivious exhibition of the anus, genitals, or pubic area of any

person.

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t A “storage medium” is any physical object upon which
computer data can be recorded. Examples include hard disks, RAM, floppy
disks, “thumb,” “jump,” or “flash” drives, CD-ROMs, and other magnetic or
optical media.

u. The “Tor network,” or simply “Tor” (an abbreviation for “The
Onion Router”), is a special network of computers on the Internet, distributed
around the world, designed to conceal the true IP addresses of the computers
accessing the network, and, thereby, the locations and identities of the
network’s users. Tor also enables websites to operate on the network in a way
that conceals the true IP addresses of the computer servers hosting the
websites, which are referred to as “hidden services” on the Tor network. Such
hidden services operating on Tor have complex web addresses, generated by a
computer algorithm, ending in “onion” and can only be accessed through
specific web browser software, including a browser known as “Tor Browser,”
designed to access the Tor network. Examples of hidden services websites are
the previously cited AlphaBay and Hansa. Tor is available on cellphones using
the Android and Apple operating systems by installing an application that puts
a TOR-enabled internet browser on a user’s cellphone, which then routes the
phone’s IP address through different servers all over the world, making it

extremely difficult to track.

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Vv. “URL” is an abbreviation for Uniform Resource Locator and
is another name for a web address. URLs are made of letters, numbers, and
other symbols in a standard form. People use them on computers by clicking a
pre-prepared link or typing or copying and pasting one into a web browser to
make the computer fetch and show some specific resource (usually a webpage)
from another computer (web server) on the Internet.

w. “Vendors” are the dark web’s sellers of goods and services,
often of an illicit nature, and they do so through the creation and operation of
“vendor accounts” on dark web marketplaces. Customers, meanwhile, operate
“customer accounts.” Vendor and customer accounts are not identified by
numbers, but rather monikers or “handles,” much like the username one would
use on a clear website. If a moniker on a particular marketplace has not
already been registered by another user, vendors and customers can use the
same moniker across multiple marketplaces, and based on seller and customer
reviews, can become well known as “trusted” vendors or customers. It is also
possible for the same person to operate multiple customer accounts and
multiple vendor accounts at the same time. For example, based on my training
and experience, I know that one person could have a vendor account that he or
she uses to sell illegal goods on a dark web marketplace in exchange for

cryptocurrency; that same vendor could also have a different customer account

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that he or she uses to exchange cryptocurrency earned from vendor sales for
fiat currency.? Because they are separate accounts, a person could use different
accounts to send and receive the same cryptocurrency on the dark web. I know
from training and experience that one of the reasons dark web vendors have
multiple monikers for different vendor and customer accounts, is to prevent
law enforcement from identifying which accounts belong to the same person,
and who the actual person is that owns or uses the accounts.

x. “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes
undeveloped film and videotape, data stored on computer disc or other
electronic means which is capable of conversion into a visual image, and data
which is capable of conversion into a visual image that has been transmitted
by any means, whether, or not stored in a permanent format.

y. A “website” consists of textual pages of information and
associated graphic images. The textual information is stored in a specific
format known as Hyper-Text Mark-up Language (HTML) and is transmitted
from web servers to various web clients via Hyper-Text Transport Protocol
(ATTP).

CRYPTOCURRENCY (BITCOIN)

2 Fiat currency is currency issued and regulated by a government such as the
U.S. Dollar, Euro, or Japanese Yen.

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le “Cryptocurrency,” a type of virtual currency, is a decentralized,
peer-to peer, network-based medium of value or exchange that may be used as
a substitute for fiat currency to buy goods or services or exchanged for fiat
currency or other cryptocurrencies. Examples of cryptocurrency are Bitcoin,
Litecoin, and Ether. Cryptocurrency can exist digitally on the Internet, in an
electronic storage device, or in cloud-based servers. Although not usually
stored in any physical form, public and private keys (described below) used to
transfer cryptocurrency from one person or place to another can be printed or
written on a piece of paper or other tangible object. Cryptocurrency can be
exchanged directly person to person, through a cryptocurrency exchange, or
through other intermediaries. Generally, cryptocurrency is not issued by any
government, bank, or company; it is instead generated and controlled through
computer software operating on a decentralized peer-to-peer network. Most
cryptocurrencies have a “blockchain,” which is a distributed public ledger, run
by the decentralized network, containing an immutable and historical record

of every transaction. Cryptocurrency is not illegal in the United States.

3 Some cryptocurrencies operate on blockchains that are not public and operate
in such a way to obfuscate transactions, making it difficult to trace or attribute
transactions.

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8. Bitcoin‘ (“BTC”) is a type of cryptocurrency. Payments or transfers
of value made with bitcoin are recorded in the Bitcoin blockchain and thus are
not maintained by any single administrator or entity. As mentioned above,
individuals can acquire bitcoin through exchanges (i.e., online companies
which allow individuals to purchase or sell cryptocurrencies in exchange for
fiat currencies or other cryptocurrencies), bitcoin ATMs, or directly from other
people. Individuals can also acquire cryptocurrencies by “mining.” An
individual can “mine” bitcoins by using his or her computing power to solve a
complicated algorithm and verify and record payments on the blockchain.
Individuals are rewarded for this task by receiving newly created units of a
cryptocurrency. Individuals can send and receive cryptocurrencies online using
many types of electronic devices, including laptop computers and smart
phones. Even though the public addresses of those engaging in cryptocurrency
transactions are recorded on a blockchain, the identities of the individuals or
entities behind the public addresses are not recorded on these public ledgers.
If, however, an individual or entity is linked to a public address, it may be

possible to determine what transactions were conducted by that individual or

‘ Since Bitcoin is both a cryptocurrency and a protocol, capitalization differs.
Accepted practice is to use “Bitcoin” (singular with an uppercase letter B) to
label the protocol, software, and community, and “bitcoin” (with a lowercase
letter b) to label units of the cryptocurrency. That practice is adopted here.

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entity. Bitcoin transactions are therefore sometimes described as
“nseudonymous,” meaning that they are partially anonymous. And while it’s
not completely anonymous, bitcoin allows users to transfer funds more
anonymously than would be possible through traditional banking and financial
systems.

9. Cryptocurrency is stored in a virtual account called a “wallet.”
Wallets are software programs that interface with blockchains and generate
and/or store public and private keys used to send and receive cryptocurrency.
A public key or address is akin to a bank account number, and a private key is
akin to a PIN number or password that allows a user the ability to access and
transfer value associated with the public address or key. To conduct
transactions on a blockchain, an individual must use the public address (or
“public key”) and the private address (or “private key”). A public address 1s
represented as a case-sensitive string of letters and numbers, 26—25 characters
long. Each public address is controlled and/or accessed through the use of a
unique corresponding private key, the cryptographic equivalent of a password
or PIN, needed to access the address. Only the holder of an address’ private
key can authorize any transfers of cryptocurrency from that address to another

cryptocurrency address.

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10. Although cryptocurrencies such as bitcoin have legitimate uses,
cryptocurrency is also used by individuals and organizations for criminal
purposes such as money laundering and is an oft used means of payment for
illegal goods and services on hidden services websites operating on the Tor
network. By maintaining multiple wallets, those who use cryptocurrency for
illicit purposes can attempt to thwart law enforcement’s efforts to track
purchases within the dark web marketplaces.

11. Exchangers and users of cryptocurrencies store and transact their
cryptocurrency in a number of ways, as wallet software can be housed in a
variety of forms, including on a tangible, external device (“hardware wallet”),
downloaded on a PC or laptop (“desktop wallet”), with an Internet-based cloud
storage provider (“online wallet”), as a mobile application on a smartphone or
tablet (“mobile wallet”), printed public and private keys (“paper wallet”), and
as an online account associated with a cryptocurrency exchange. Because these
desktop, mobile, and online wallets are electronic in nature, they are located
on mobile devices (e.g., smart phones or tablets) or at websites that users can
access via a computer, smart phone, or any device that can search the Internet.
Moreover, hardware wallets are located on some type of external or removable
media device, such as a USB thumb drive or other commercially available

device designed to store cryptocurrency (e.g. Trezor, Keepkey, or Nano Ledger).

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In addition, paper wallets contain an address and a QR code® with the public
and private key embedded in the code. Paper wallet keys are not stored
digitally. Wallets can also be backed up into, for example, paper printouts, USB
drives, or CDs, and accessed through a “recovery seed” (random words strung
together in a phrase) or a complex password. Additional security safeguards
for cryptocurrency wallets can include two-factor authorization (such as a
password and a phrase). I also know that individuals possessing
eryptocurrencies often have safeguards in place to ensure that their
cryptocurrencies become further secured in the event their assets become
potentially vulnerable to seizure and/or unauthorized transfer.

12. To transfer BTC to another BTC address, the sender transmits a
transaction announcement, which is cryptographically signed with the
sender’s private key, across the peer-to-peer BTC network. To complete a
transaction, a sender needs only the BTC address of the receiving party (who
also has a private key) and the sender’s own private key. These two keys by
themselves rarely reflect any identifying information about either sender or
recipient. As a result, little-to-no personally identifiable information about the

sender or recipient is transmitted in a BTC transaction itself. Once the sender's

5 A QR code is a matrix barcode that is a machine-readable optical label.

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transaction announcement is verified by the network, the transaction is added
to the blockchain.

13. While a BTC address owner’s identity is generally anonymous
(unless the owner opts to make information about the owner’s BTC address
publicly available), investigators can use the blockchain to identify the owner
of a particular BTC address. Because the blockchain serves as a searchable
public ledger of every BTC transaction, investigators can trace transactions to,
and among other recipients, BTC exchangers. Because BTC exchangers
generally collect identifying information about their customers, as discussed
below, subpoenas or other appropriate legal process submitted to exchangers
can, in some instances, reveal the true identity of an individual responsible for
a BTC transaction.

14. Blockchain analysis can also, in some instances, reveal whether
multiple BTC addresses are controlled by the same individual or entity. For
example, the proprietor of a website that accepts payment via BTC may create
multiple different BTC addresses to receive payments from different
customers. If the proprietor later decides to consolidate the BTC that it has
received from those customers, the proprietor may group those BTC addresses
together to send a single transaction into one BTC account. Each of those many

BTC addresses would then appear as “inputs” on a single transaction on the

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blockchain. Therefore, if a known BTC address appears as an “input” on a
single transaction alongside other unknown addresses, this may indicate that
these addresses are all controlled by the same user. Additional examination of
these BTC addresses and their activity on the blockchain may also reveal
further information about the user and his/her previous transactions.

15. Law enforcement uses sophisticated commercial services offered
by several different blockchain-analysis companies to investigate bitcoin
transactions in this fashion. These companies analyze the blockchain to
identify individuals or groups involved with bitcoin transactions. Specifically,
by analyzing the data underlying bitcoin transactions, these companies create
large databases that group bitcoin transactions into “clusters.” This third-
party analysis allows law enforcement to identify BTC addresses that are
included as “inputs” in the same transaction, as described above, and “cluster”
these addresses together. After using this type of data in numerous unrelated
investigations, law enforcement has found the clustering information and
analysis provided by these companies to be reliable.

16. Banks and law enforcement organizations worldwide use this
third-party blockchain-analysis software as, among other things, an anti-
money laundering tool. It has supported many investigations and been the

basis for numerous search and seizure warrants. Further, computer scientists

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have independently shown that they can use these “clustering” methods as
clues to analyze how BTC are aggregated or split up, and to identify BTC
addresses and their respective account owners.

17. As described herein, based on investigation to date, various Tor
onion sites appear to assign each user accessing the site a unique BTC address
to which the user can send funds for purchasing account privileges. Based on
prior investigations, law enforcement is aware that creating a payment system
in which purchasers send payments to unique addresses associated with a
centralized operator allows blockchain-analysis software to identify which
payments are going into a cluster of BTC addresses associated with the
recipient of the payments.

18. One of the functions of the third party who operates clustering
analysis software is to proactively seek out sites on the Tor network, and
related BTC clusters, that may be engaged in illicit activity, in part to allow
institutions that are required to perform due diligence to ensure they are not
sending funds to illicit sites.

DARKNET

19. The Darknet is a network of computers that offer restricted access

that is used mainly for peer-to-peer transactions, including payment

transactions. Darknet markets commonly sell illicit goods such as drugs, stolen

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information, weapons, and child pornography. The transactions in Darknet
markets are anonymized and typically use cryptocurrency like Bitcoin and
other virtual currencies to protect the identity of the seller and buyer.
TOR

20. Tor is a computer network designed to facilitate anonymous
communication over the Internet. The Tor network does this by routing a user’s
communications through a globally distributed network of relay computers, or
proxies, rendering conventional IP address-based methods of identifying users
ineffective. To access the Tor network, a user must install Tor software either
by downloading an add-on to the user’s web browser or by downloading the free
“Tor browser bundle,” which is available at www.torproject.org.° When a Tor
user accesses a website, only the IP address of the last relay computer (the
“exit node”), as opposed to the user’s actual IP address, appears on the
website’s IP address log. Currently, there is no practical method to trace a
user’s actual IP address back through those Tor relay computers.

21. The Tor Network also makes it possible for users to operate
websites, called “hidden services,’ in a manner that conceals the true IP

address of the computer hosting the website. Like other websites, “hidden

6 Additional information outlining Tor and how it works is publicly accessible
at www.torproject.org.

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services” are hosted on computer servers that communicate through IP
addresses. However, hidden services have unique technical features that
conceal the computer server's location. Unlike standard Internet websites, a
Tor-based web address is comprised of a series of 16 algorithm-generated
characters, for example “asdlk8fs9dflku7f,” followed by the suffix “onion.”
Ordinarily, investigators can determine the IP address of the computer server
hosting a website by simply looking it up on a publicly available Domain Name
System (“DNS”) listing. Unlike ordinary internet websites, however, there is
no publicly available DNS listing through which one can query the IP address
of a computer server that hosts a Tor hidden service. So, while law enforcement
agents can view and access hidden services that are facilitating illegal activity,
they cannot determine the IP address of a Tor hidden service via public
lookups. Additionally, as with all Tor communications, communications
between users’ computers and a Tor hidden-service web server are routed
through a series of intermediary computers. Accordingly, neither law
enforcement nor hidden-service users can use public lookups or ordinary
investigative means to determine the true IP address, and therefore the

location of a computer server that hosts a hidden service.

COINBASE

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22. Coinbase is a cryptocurrency provider. On its website, it describes
its services as “a secure online platform for buying, selling, transferring, and
storing cryptocurrency.” (See Coinbase.com).

23. As defined on Coinbase’s website, TXHASH “is a unique identifier,
similar to a receipt, that serves as proof that a transaction was validated and
added to the blockchain.”

24. Coinbase is legally required to gather Know Your Customer
(“KYC”) data and verify the identity of its users. KYC data includes the
subscriber/user’s name, date of birth, street address, and last four digits of
their social security number. The subscriber/user is also required to submit a

valid government-issued photo identification, such as a driver’s license.

INTERNET WATCH FOUNDATION

25. Information relied upon in this affidavit was obtained from the
Internet Watch Foundation (“IWF”). IWF is an independent, non-profit
charitable organization based in the United Kingdom that identifies those who
distribute/trade child sexual abuse material (“CSAM”) online. I have reviewed
their website, which states, the IWF:

works in partnership with the internet and tech
industries, global law enforcement, governments, the
education sector, charities and non-profits across the

world and the public to minimise, disrupt and stop the
availability of child sexual abuse images and videos

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hosted anywhere in the world, and non-photographic
child sexual abuse images hosted in the UK.

96. The IWF is separate from government and law enforcement in the
United Kingdom and operates as a charity. However, they work in partnership
with law enforcement to identify those who trade images and videos of child
sex abuse online.

27, Based on my training, experience, and research, IWF is a trusted
organization whose independent investigation and information has been relied
upon by law enforcement around the world including in the United States.
They operate akin to, and collaborate with, the National Center for Missing
and Exploited Children “(NCMEC”), who act ina similar capacity in the United
States.

28, IWF investigates complaints received from the public or through
Internet service providers and others. When [WF initiates an investigation,
they document their findings in an IWF report.

PROBABLE CAUSE

29. On or about September 7, 2023, HSI Miami received information
from Coinbase indicating Alec WHITE’s Coinbase account, User ID

5e94b88a25792claafb3leb9, appeared to have been utilized to send BTC on

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the Darknet to a Tor .onion’? website(s) containing CSAM and advertising the
ability to purchase access to additional CSAM. Subsequent database queries
by HSI Miami revealed Alec WHITE’s most recent probable residence was in
the Middle District of North Carolina (MDNC), prompting an investigative
referral to HSI Raleigh.

30. On or about September 13, 2023, I received the investigative
referral and two (2) associated Coinbase reports from HSI Miami. On this date,
I reviewed the Coinbase reports revealing they provided the web address for a
Tor .onion website, hereafter referred to as Tor CSAM site 1. Coinbase
documented Tor CSAM site 1 appeared to host child pornography and
contained instructions on how to purchase “premium access” to the site.
Coinbase further documented Tor CSAM site 1 directed purchasers to deposit
0.0006654 BTC to BTC address
belqsstk2j9p7eklzmeq2h3zegdj6ua5vacu2r7yq7, hereafter referred to as Tor
CSAM site 1 BTC address.

31. Coinbase also reported they identified, through the utilization of

Darknet and financial analysis tools, that the Tor CSAM site 1 BTC

7 As outlined herein, the onion sites are pegs to the Tor Network, which
enables user to operate hidden websites, that conceal the true IP address of
the computer hosting the website.

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address was linked to BTC address
belqf9vnxeg2pctk9r2mktwd5nt8fqv6u5rthp5uml, hereafter referred to as the
Target CSAM BTC address, and both addresses were clustered with six (6)
other BTC addresses within one (1) BTC wallet.

32. Coinbase referenced the existence of IWF report(s) related to the
Target CSAM BTC address and Tor CSAM site 1 BTC address.

33. On September 13, 20238, I utilized a Tor browser, accessed Tor
CSAM site 1, and conducted an evidentiary video capture. At this time, I
verified this website, entitled “PREMIUM CP,” advertised CSAM. I observed
one (1) CSAM video, depicting a prepubescent female child, under a section of
the website entitled “Sample video” and nine (9) other CSAM videos, depicting
prepubescent female children, under a section entitled “SOME SAMPLES OF
OUR GALLERY,” on the homepage of the website. I watched the “Sample
video” revealing an approximately seventeen second video focused on a male
touching his erect penis in a masturbatory fashion as he ejaculated into the
mouth and face of a prepubescent female child whose upper body is nude. Upon
ejaculating into the child’s mouth, she begins to gag.

34. Tor CSAM site 1 identified itself as “a child porn photo and video
collection website” existing since 2015 where you could “find over 320,000+

photos and over 70,000+ homemade porn videos of girls and boys from 3 to 16

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years old.” Tor CSAM site 1 also contained the text, “To start using our site,

you need to buy premium access. To do this, you need to send a unique amount

to the bitcoin wallet of our bot.” In addition, the site directed potential
purchasers to “Deposit 0.0006539 to this wallet BTC:
belgp9hcrmdpl08ufasnl167q4ef53chmhq38mslwhu’, hereafter referred to as
Tor CSAM site 1 BTC address 2.

35. On September 13, 2023, I conducted database and online queries
related to Alec WHITE revealing the following information, in summary:

Name: Alec Joseph WHITE

DOB (date of birth): 04/13/1990

SSN (social security number): XXX-XX-9847

NC driver’s license (DL) number: 000024398976

Registered vehicle: 2019 Toyota Camry assigned NC/US license
plate number B124CP

Recent potential address: 100 Village Circle Way, Apt 534
Durham, NC 27718

36. On or about September 15, 2023, HSI Raleigh submitted a DHS
summons to Coinbase requesting information related to Alec WHITE’s account
and activity. Coinbase responded and provided the following identity

information, in summary:

Name: Alec WHITE

Birthdate: 04/13/1990

SSN (social security number): xxx-xx-9847

User ID: 5e94b88a25792claafb3 leb9

Email address: alecwhite13@icloud.com (deleted)

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Phone number: 3363078432 (deleted)

Most recent billing address: 100 Village Circle Way, Apt. 534,
Durham, NC 27713

Account creation date: April 13, 2020

Coinbase also provided two (2) photographs depicting the back and
front of Alec Joseph WHITE’s (DOB: 04/13/1990) NC driver’s license (DL),
number 000024398976.

37. Coinbase also provided information related to the cryptocurrency
transactions from Alec WHITE’s account. I reviewed these transactions and
identified the following information, in summary, regarding transactions
between Alec WHITE’s account and the Target CSAM BTC address:

1. Timestamp: 8/1/2023 17:50 (5:50:25 PM)

Account Name: BTC Wallet

Type: Send

Status: Complete

Amount: -0.00052924

Currency: BTC

To: bel gf9vnxeg2pctk9r2mktwdbnt8fqv6u5rthp 5uml

Equivalent USD: -15.74

TXHASH:
114af8397fa67877c27362a9cf600e1c26e9d7a5ca7393223d840b59403f2d22

2. Timestamp: 8/1/2023 18:14 (6:14:43 PM)
Account Name: BTC Wallet
Type: Send
Status: Complete
Amount: -0.00082347
Currency: BTC
To: belqfovnxeg2pctk9r2mktwdbnt8fqv6u5rthp5uml
Equivalent USD: -9.66

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TXHASH:
621205b582aded627c262995ae70aed195046e076c2f4ce3655733307cbb4892

3: Timestamp: 8/1/2023 21:43 (9:43:36 PM)

Account Name: BTC Wallet

Type: Send

Status: Complete

Amount: -0.00052893

Currency: BTC

To: belqf9vnxeg2pctk9r2mktwdbnt8fqv6us5rthpd5uml

Equivalent USD: -15.69

TXHASH:
£9a39b5f4al4ee4dcb25639£304de0bda79886c9 1 23addcfdfff42f2b89a704d

A, Timestamp: 8/1/2023 22:03 (10:03:40 PM)

Account Name: BTC Wallet

Type: Send

Status: Complete

Amount: -0.00042821

Currency: BTC

To: belgf9vnxeg2pctk9r2mktwdbnt8fqv6u5rthp5uml

Equivalent USD: -12.69

TXHASH:
Aacf68fdb191509e9d09b4b 13485561 bb6bfd3b117cfl 1df7da5fcd635b30ef

38. Furthermore, I reviewed the events section of the report provided
by Coinbase and discovered evidence of VPNs (virtual private networks), Tor,
and anonymous proxy usage on Alec WHITE’s Coinbase account. I utilized the
online geolocation sourcing service maxmind.com to research the IP addresses
identified by Coinbase to have accessed Alec WHITE’s account revealing
periodic usage of VPNs, Tor, and anonymous proxies beginning on 11/24/2021

20:58 (8:58:18 PM) through 8/8/2023 3:02 (3:02:02 AM), which is consistent

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with a user attempting to conceal their identity. Within this report, Coinbase
also identified location data for some of the IP addresses used to access Alec
WHITE’s account revealing multiple countries, including the United States,
Germany, the Netherlands, and Norway. Additional review of this location
data revealed geolocation to different countries on the same date, within
minutes of one another, providing further evidence of the usage of VPNs, Tor
and/or anonymous proxies to access Alec WHITE’s account. Furthermore,
within the details portion of the events section on the report, Coinbase
documented “tor user” for Alec WHITE’s account on 8/2/2023 at 8:03 (8:03:54
AM).

39. On September 20, 2023, I emailed Coinbase and requested any
other documentation they had regarding the Target CSAM BTC address.
Coinbase responded and provided a screenshot from an open-source
intelligence report referencing IWF serial (report) number 3144402 and the
IWF’s assessment, on August 18, 2023, of an onion URL (website) dedicated to
CSAM which provided the Target CSAM BTC address for payment
purposes.

40. OnSeptember 20, 2023, I emailed the IWF and requested copies of
any reports they had referencing the Target CSAM BTC address. The IWF

responded and provided the contents from serial (report) number 3144402. |

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reviewed this information revealing the IWF identified assessing a Tor .onion
website, which they identified as being dedicated to CSAM, on August 18, 2023.
The IWF provided the Tor .onion URL (web address), hereafter referred to as
Tor CSAM site 2, from the payment page, entitled Teen Porn 24 |
Membership, of this website.

Al. The IWF identified their assessment revealed the Target CSAM
BTC address, which they categorized as a commercial CSAM crypto currency
address, on the payment page of Tor CSAM site 2. The IWF documented they
also discovered Tor CSAM site 2 identified a subscription rate of $15 for
43535 videos with instructions to send 0.00057 of BTC to the Target CSAM
BTC address on the payment webpage.

42. In addition, the IWF’s reporting included the text, “We have
assessed the website associated with the above stated report number. The site
indicates that it provides paid access to criminal content and offers
Cryptocurrency as a suggested payment option” regarding their assessment of
Tor CSAM site 2.

43. On September 22, 2023, I utilized a Tor browser, accessed Tor
CSAM site 2, and conducted an evidentiary video capture. | verified this
website, entitled “24 Teen Porn 24 — Teen Sex Videos,” advertised CSAM. I

observed forty-four total images from associated videos on the homepage under

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sections entitled, “Hottest Teen Sex Videos Today,” “Top Rated Teen XXX
Videos” and “New Teen Porn Videos.” Forty of the forty-four images are CSAM
and show child sexual abuse (CSA) depicting prepubescent and minor aged
female and male children, and the other four (4) images depict child erotica.
For example, one image depicts an adult male’s erect penis partially inserted
into the anus of a nude prepubescent aged female child. As a second example,
one image depicts a male’s erect penis partially inserted into the genitals of
what appears to be a partially clothed prepubescent female child near toddler
age. Below these forty-four images was the following text:

Step into the world of teen porn and browse the one and only
teenporn24, probably the only site for adults to provide exclusive
teen content. Nothing but quality teen sex videos which won’t be
available for streaming on other pages. Simply connect to this
fabulous sex tube and get started. The features are plenty and you
will enjoy a smooth navigation. All that thanks to the page’s
intuitive layout and great options. Either you like them naughty,
sensual or wild, the teens on this page will suit even your deepest
desires. That’s because some are into anal, others are into DP sex
and many of them also love taking the jizz on their faces. Feel free
to browse teenporn24 and navigate the endless seas of premium
teen sex videos available. It’s easy and daily updated with new
stuff so that you can never get bored. Not to mention the category
list which will offer you direct access to all the kinky teen stuff you
have been craving for.

44, While conducting the evidentiary video capture, I clicked on a

button entitled “SIGN UP” at the bottom of the homepage which led to a

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registration page reading, “Membership to TeenPorn24 for a charge of $15
43535 videos” that included areas for the inputting of a username and
password. At this time, I entered a fictitious username and password into the
webpage and clicked continue which led to another webpage containing the
following text, in summary:

Payment Information

Waiting for your funds...

0.00057 BTC

UNPAID
Send the indicated amount to the address below

0.00057 BTC
belqp9hermdp!108ufasn167 q4ef53chmhq38mslwhu

45. Following the evidentiary video capture, I identified BTC address
belqp9hcrmdp108ufasn167q4ef53chmhq38mslwhu, previously cited within
this affidavit as Tor CSAM site 1 BTC address 2, was the same BTC address
discovered during the evidentiary video capture of Tor CSAM site 1 on
September 13, 2023.

46. On September 25, 2023, I emailed the IWF and requested a copy
of the screen capture they took during their documentation of Tor CSAM site
2, during their assessment as part of serial (report) number 3144402. The IWF
responded and provided the requested screen capture which was dated August

18, 2023. I reviewed the screen capture and visually verified it depicts the

membership registration/payment webpage from Tor CSAM site 2, as

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observed during my evidentiary video capture of the website on September 22,
2023. As observed in the screen capture, Tor CSAM site 2 included
instructions to send 0.00057 of BTC to the Target CSAM BTC address as
payment. Visual comparison of the IWF screen capture of Tor CSAM site 2’s
membership registration/payment webpage to Tor CSAM site 2’s
membership registration/payment webpage during my evidentiary video
capture revealed the only difference appeared to be the BTC addresses
provided to purchase additional access to CSAM through the website. As
previously cited, the BTC addresses from the IWF screen capture and the
evidentiary video capture of Tor CSAM site 2 have been discovered on Tor
onion CSAM websites.

47. On October 13, 2023, I conducted surveillance at 100 Village Circle
Way, Apartment 534, Durham, NC 27713. At approximately 0650 hours, I
observed Alec Joseph WHITE’s white Toyota Camry, bearing NC license plate
number B124CP, parked in a space directly in front of the SUBJ ECT
PREMISES. At approximately, 0720 hours, I observed Alec Joseph WHITE
walking from the third floor, down the stairs and to his Camry. I then watched
Alec Joseph WHITE enter his Camry and drive away.

48. On October 16, 2023, HSI Raleigh submitted a DHS summons to

Spectrum (Charter Communications) requesting subscriber information for

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addresses 100 Village Circle Way, Apartment 534, Durham, NC 27713 and 100
Village Circle Way, Apartment 532, Durham, NC 27713. Charter
Communications responded and provided the following information, in

summary, regarding Apartment 532:

Customer Name: Alec WHITE

Email: aleewhite13@icloud.com
Phone number: (836) 807-8432
Connection date: 09/07/2023

Charter responded and provided the following information, in

summary, regarding Apartment 534:
Customer Name: Grace Lena
Email: glenal7@ad.unc.edu

Phone number: (845) 476-2966
Connection date: 09/10/2023

49, On January 20, 2024, I conducted surveillance at the SUBJECT
PREMISES and observed Alec Joseph WHITE arrive in and park his Toyota
Camry, bearing NC license plate number B124CP, in front of the 500 building
at 100 Village Circle Way, Durham, NC 27713, and the stairs leading to

Apartment 532.

50. On March 8, 2024, I conducted law enforcement database queries
of the NC Division of Motor Vehicles (DMV) revealing Alec Joseph WHITE had

been issued an updated driver’s license (DL), number 000024398976, on

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February 27, 2024, listing his residential address as 100 Village Circle Way,
Apt 532, Durham, NC 27713.

51. In summary, as previously documented within paragraphs 29
through 46 of this Affidavit, Alec WHITE’s Coinbase account was utilized, on
August 1, 2023, to send BTC to the Target CSAM BTC address. On August
18, 2023, the IWF identified the Target CSAM BTC address on Tor CSAM
site 2, which they screen captured. On September 22, 2023, I conducted an
evidentiary video capture of Tor CSAM site 2 and verified it as a website
dedicated to CSAM and containing instructions on how to purchase additional
access to CSAM. At this time, Tor CSAM site 2 contained Tor CSAM site 1
BTC address 2. On September 25, 2023, the IWF provided their screen
capture of the Target CSAM BTC address on Tor CSAM site 2. I reviewed
this screen capture and visually verified it depicts the membership
registration/payment webpage from Tor CSAM site 2. Visual comparison of
the IWF screen capture of Tor CSAM site 2’s membership
registration/payment webpage to Tor CSAM site 2’s membership
registration/payment webpage during my evidentiary video capture revealed
the only difference appeared to be the BTC addresses provided to purchase

additional access to CSAM through the website.

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CHARACTERISTICS COMMON TO INDIVIDUALS WHO PRODUCE,
ADVERTISE, TRANSPORT, DISTRIBUTE, RECEIVE, POSSESS,
AND/OR ACCESS WITH INTENT TO VIEW CHILD PORNOGRAPHY

52. Based on my previous investigative experience related to child
exploitation investigations, and the training and experience of other law
enforcement officers with whom I have had discussions, I know the following
are certain characteristics common to individuals who possess, receive and/or
distribute child pornography:

a. Such individuals may receive sexual gratification,
stimulation, and satisfaction from contact with children, or from
fantasies they may have viewing children engaged in sexual activity or
in sexually suggestive poses, such as in person, in photographs, or other
visual media, or from literature describing such activity.

b. Such individuals may collect sexually explicit or suggestive
materials in a variety of media, including photographs, magazines,
motion pictures, videotapes, books, slides and/or drawings or other visual
media. Individuals who have a sexual interest in children or images of
children oftentimes use these materials for their own sexual arousal and
gratification. Further, they may use these materials to lower the
inhibitions of children they are attempting to seduce, to arouse the

selected child partner, or to demonstrate the desired sexual acts.

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Gi. Such individuals almost always possess and maintain their
hard copies of child pornographic material, that is, their pictures, films,
video tapes, magazines, negatives, photographs, correspondence,
mailing lists, books, tape recordings, etc., in the privacy and security of
their home or some other secure location. Individuals who have a sexual
interest in children or images of children typically retain their pictures,
films, video tapes, photographs, magazines, negatives, correspondence,
mailing lists, books, tape recordings and child erotica for many years.

d. Likewise, such individuals often maintain their child
pornography images in a digital or electronic format in a safe, secure and
private environment, such as a computer and surrounding area. These
child pornography images are often maintained for several years and are
kept close by, usually at the possessor’s residence, inside the possessor’s
vehicle, or, at times, on their person, or in cloud-based online storage, to
enable the individual to view the child pornography images, which are
valued highly. Some of these individuals also have been found to
download, view, and then delete child pornography on their computers
or digital devices on a cyclical and repetitive basis.

e. Importantly, evidence of such activity, including deleted

child pornography, often can be located on these individuals’ computers

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and digital devices through the use of forensic tools. Indeed, the very
nature of electronic storage means that evidence of the crime is often still
discoverable for extended periods of time even after the individual
“deleted” it.

ft, Such individuals also may correspond with and/or meet
others to share information and materials, rarely destroy
correspondence from other child pornography distributors/possessors,
conceal such correspondence as they do their sexually explicit material,
and often maintain lists of names, addresses (including email addresses),
and telephone numbers of individuals with whom they have been in
contact and who share the same interests in child pornography.

g, Such individuals prefer not to be without their child
pornography for any prolonged time period. This behavior has been
documented by law enforcement officers involved in the investigation of
child pornography throughout the world.

h. Even if the individual utilizing Alec WHITE’s Coinbase
account to send BTC to the Target CSAM BTC address to purchase
and/or attempt to purchase access to Tor CSAM site 2, who is believed
to be Alec Joseph WHITE, uses a portable device (such as a mobile

phone) to access the Internet and child pornography, it is more likely

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than not that evidence of this access will be found in his home, the

SUBJECT PREMISES, as set forth in Attachment A, and on Alec Joseph

WHITE’s person, as set forth in Attachment B, and in the SUBJECT

VEHICLE, as set forth in Attachment C, including on digital devices

other than the portable device (for reasons including the frequency of

“backing up” or “synching” mobile phones to computers or other digital

devices).

53. Based on the following, I believe the suspected target of this
investigation, Alec Joseph WHITE, residing at the SUBJECT PREMISES
likely displays characteristics common to individuals who possess, receive,
distribute and/or maintain access with intent to view child pornography.

As detailed herein, the target of this investigation, who is believed to be
Alec Joseph WHITE, appeared to have accessed Tor CSAM site 2 and utilized
his Coinbase account to send BTC to the Target CSAM BTC address to
purchase and/or attempt to purchase access to additional CSAM on Tor CSAM
site 2.

BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, AND
THE INTERNET

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54. | have had both training and experience in the investigation of
computer-related crimes. Based on my training, experience, and knowledge, I
know the following:

a. Computers and digital technology are the primary way in which
individuals interested in child pornography interact with each other.
Computers basically serve four functions in connection with child
pornography: production, communication, distribution, and storage.

b. Digital cameras and computers with cameras save photographs or
videos as a digital file that can be directly transferred to a computer by
connecting the camera or smartphone to the computer, using a cable or via
wireless connections such as “WiF%” or “Bluetooth.” Photos and videos taken on
a digital camera or smartphone may be stored on a removable memory card in
the camera or smartphone. These memory cards are often large enough to store
thousands of high-resolution photographs or videos.

é A device known as a modem allows any computer to connect to
another computer through the use of telephone, cable, or wireless connection.
Mobile devices such as smartphones and tablet computers may also connect to
other computers via wireless connections. Electronic contact can be made to
literally millions of computers around the world. Child pornography can

therefore be easily, inexpensively and anonymously (through electronic

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communications) produced, distributed, and received by anyone with access to
a computer or smartphone.

d. The computer’s ability to store images in digital form makes the
computer itself an ideal repository for child pornography. Electronic storage
media of various types - to include computer hard drives, external hard drives,
CDs, DVDs, and “thumb,” “jump,” or “flash” drives, which are very small
devices that are plugged into a port on the computer - can store thousands of
images or videos at very high resolution. It is extremely easy for an individual
to take a photo or a video with a digital camera or camera-bearing smartphone,
upload that photo or video to a computer, and then copy it (or any other files
on the computer) to any one of those media storage devices. Some media
storage devices can easily be concealed and carried on an individual’s person.
Smartphones and/or mobile phones are also often carried on an individual’s
person.

e. The Internet affords individuals several different venues for
obtaining, viewing, and trading child pornography in a relatively secure and
anonymous fashion.

i, Individuals also use online resources to retrieve and store child
pornography. Some online services allow a user to set up an account with a

remote computing service that may provide email services and/or electronic

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storage of computer files in any variety of formats. A user can set up an online
storage account (sometimes referred to as “cloud” storage) from any computer
or smartphone with access to the Internet. Such an account can also be
accessed in the same way. Even in cases where online storage is used, however,
evidence of child pornography can be found on the user’s computer,
smartphone, or external media in most cases.

g. A growing phenomenon related to smartphones and other mobile
computing devices is the use of mobile applications, also referred to as “apps.”
Apps consist of software downloaded onto mobile devices that enable users to
perform a variety of tasks, such as engaging in online chat, sharing digital files,
reading a book, or playing a game, on a mobile device. Individuals commonly
use such apps to receive, store, distribute, and advertise child pornography, to
interact directly with other like-minded offenders or with potential minor
victims, and to access cloud-storage services where child pornography may be
stored.

h. As is the case with most digital technology, communications by
way of computer can be saved or stored on the computer used for these
purposes. Storing this information can be intentional (1.e., by saving an email
as a file on the computer or saving the location of one’s favorite websites in, for

example, “bookmarked” files) or unintentional. Digital information, such as the

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traces of the path of an electronic communication, may also be automatically
stored in many places (e.g., temporary files or ISP client software, among
others). In addition to electronic communications, a computer user’s Internet
activities generally leave traces or “footprints” in the web cache and history
files of the browser used. Such information is often maintained indefinitely
until overwritten by other data.

Ly Individuals involved in the receipt, possession, and/or distribution
of child pornography very frequently possess multiple devices that contain
evidence of their interaction with child pornography and/or sexual interest in
minors. In modern American culture, most individuals possess multiple
devices that have the ability to connect to the Internet (e.g., tablets, desktop
computers, laptop computers, and mobile phones). Many individuals also keep
prior versions of their devices (e.g., prior cell phones and prior computers). This
is the case because (1) individuals are often reluctant to discard devices that
frequently contain significant personal information and (2) current devices
may malfunction, and prior versions can often be used until the current device

is repaired or replaced.

SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER
SYSTEMS

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55. As described above and in Attachment D, this application seeks
permission to search for records that might be found at the SUBJECT
PREMISES, on the person of Alec Joseph WHITE, and in the SUBJECT
VEHICLE, in whatever form they are found. One form in which the records
are likely to be found is data stored on a computer's hard drive or other storage
media. Thus, the warrant applied for would authorize the seizure of electronic
storage media or, potentially, the copying of electronically stored information,
all under Rule 41(e)(2)(B).

56. I submit that if a computer or storage medium is found at the
SUBJECT PREMISES, on the person of Alec Joseph WHITE, and in the
SUBJECT VEHICLE, there is probable cause to believe those records
referenced above will be stored on that computer or storage medium, for at
least the following reasons:

a. Deleted files, or remnants of deleted files, may reside in free space
or slack space—that is, in space on the storage medium that is not currently
being used by an active file—for long periods of time before they are
overwritten. In addition, a computer’s operating system may also keep a record
of deleted data in a “swap” or “recovery” file.

b. Based on my knowledge, training, and experience, I know that

computer files or remnants of such files can be recovered months or even years

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after they have been downloaded onto a storage medium, deleted, or viewed
via the Internet. Electronic files downloaded to a storage medium can be stored
for years at little or no cost. Even when files have been deleted, they can be
recovered months or years later using forensic tools. This is so because when a
person “deletes” a file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the storage medium until it
is overwritten by new data.

Q. Wholly apart from user-generated files, computer storage media—
in particular, computers’ internal hard drives—contain electronic evidence of
how a computer has been used, what it has been used for, and who has used it.
To give a few examples, this forensic evidence can take the form of operating
system configurations, artifacts from operating system or application
operation, file system data structures, and virtual memory “swap” or paging
files. Computer users typically do not erase or delete this evidence, because
special software is typically required for that task. However, it 1s technically
possible to delete this information.

d. Similarly, files that have been viewed via the Internet are
sometimes automatically downloaded into a temporary Internet directory or

“cache.”

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57. As further described in Attachment D, this application seeks
permission to locate not only computer files that might serve as direct evidence
of the crimes described in the warrant, but also for forensic electronic evidence
that establishes how computers were used, the purpose of their use, who used
them, and when. There is probable cause to believe that this forensic electronic
evidence will be on any storage medium at the SUBJECT PREMISES, on the
person of Alec Joseph WHITH, and in the SUBJECT VEHICLE, at the time of
the execution of the warrant because:

a. Data on the storage medium can provide evidence of a file that was
once on the storage medium but has since been deleted or edited, or of a deleted
portion of a file (such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces of
information on the storage medium that show what tasks and processes were
recently active. Web browsers, email programs, and chat programs store
configuration information on the storage medium that can reveal information
such as online nicknames and passwords. Operating systems can record
additional information, such as the attachment of peripherals, the attachment
of USB flash storage devices or other external storage media, and the times

the computer was in use. Computer file systems can record information about

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the dates files were created and the sequence in which they were created,
although this information can later be falsified.

b. Information stored within a computer and other electronic storage
media may provide crucial evidence of the “who, what, why, when, where, and
how” of the criminal conduct under investigation, thus enabling the United
States to establish and prove each element or alternatively, to exclude the
innocent from further suspicion. In my training and experience, information
stored within a computer or storage media (e.g., registry information,
communications, images and movies, transactional information, records of
session times and durations, Internet history, and anti-virus, spyware, and
malware detection programs) can indicate who has used or controlled the
computer or storage media. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a
residence, The existence or absence of anti-virus, spyware, and malware
detection programs may indicate whether the computer was remotely accessed,
thus inculpating, or exculpating the computer owner. Further, computer and
storage media activity can indicate how and when the computer or storage
media was accessed or used. For example, computers typically contain
information that logs computer user account session times and durations,

computer activity associated with user accounts, electronic storage media that

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connected with the computer, and the IP addresses through which the
computer accessed networks and the Internet. Such information allows
investigators to understand the chronological context of computer or electronic
storage media access, use, and events relating to the crime under investigation.
Additionally, some information stored within a computer or electronic storage
media may provide crucial evidence relating to the physical location of other
evidence and the suspect. For example, images stored on a computer may both
show a particular location and have geolocation information incorporated into
its file data. Such file data typically also contains information indicating when
the file or image was created. The existence of such image files, along with
external device connection logs, may also indicate the presence of additional
electronic storage media (e.g., a digital camera or cellular phone with an
incorporated camera). The geographic and timeline information described
herein may either inculpate or exculpate the computer user. Last, information
stored within a computer may provide relevant insight into the computer user’s
state of mind as it relates to the offense under investigation. For example,
information within the computer may indicate the owner’s motive and intent
to commit a crime (e.g., Internet searches indicating criminal planning), or

consciousness of guilt (e.g., running a “wiping” program to destroy evidence on

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the computer or password protecting/encrypting such evidence in an effort to
conceal it from law enforcement).

es A person with appropriate familiarity with how a computer works
can, after examining this forensic evidence in its proper context, draw
conclusions about how computers were used, the purpose of their use, who used
them, and when.

d. The process of identifying the exact files, blocks, registry entries,
logs, or other forms of forensic evidence on a storage medium that are
necessary to draw an accurate conclusion is a dynamic process. While it 1s
possible to specify in advance the records to be sought, computer evidence is
not always data that can be merely reviewed by a review team and passed
along to investigators. Whether data stored on a computer is evidence may
depend on other information stored on the computer and the application of
knowledge about how a computer behaves. Therefore, contextual information
necessary to understand other evidence also falls within the scope of the
warrant.

e. Further, in finding evidence of how a computer was used, the
purpose of its use, who used it, and when, sometimes it is necessary to establish

that a particular thing is not present on a storage medium. For example, the

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presence or absence of counter-forensic programs or anti-virus programs (and
associated data) may be relevant to establishing the user’s intent.

fi I know that when an individual uses a computer to obtain or access
child pornography, the individual’s computer will generally serve both as an
instrumentality for committing the crime, and, also as a storage medium for
evidence of the crime. The computer is an instrumentality of the crime because
it is used as a means of committing the criminal offense. The computer is also
likely to be a storage medium for evidence of a crime. From my training and
experience, I believe that a computer used to commit a crime of this type may
contain data that is evidence of how the computer was used; data that was sent
or received; notes as to how the criminal conduct was achieved; records of
Internet discussions about the crime; and other records that indicate the
nature of the offense.

58. Based upon my training and experience and information relayed
to me by agents and others involved in the forensic examination of computers,
I know that computer data can be stored on a variety of systems and storage
devices, including external and internal hard drives, flash drives, thumb
drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards,
cellular phones capable of storage, floppy disks, compact disks, magnetic tapes,

memory cards, memory chips, and online or offsite storage servers maintained

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by corporations, including but not limited to “cloud” storage. | also know that
during the search of the premises and/or person it is not always possible to
search computer equipment and storage devices for data for a number of
reasons, including the following:

a. Searching computer systems is a highly technical process that
requires specific expertise and specialized equipment. There are so many types
of computer hardware and software in use today that it is impossible to bring
to the search site all of the technical manuals and specialized equipment
necessary to conduct a thorough search. In addition, it may also be necessary
to consult with computer personnel who have specific expertise in the type of
computer, software, or operating system that is being searched.

b. Searching computer systems requires the use of precise, scientific
procedures which are designed to maintain the integrity of the evidence and to
recover “hidden,” erased, compressed, encrypted, or password-protected data.
Computer hardware and storage devices may contain “booby traps’ that
destroy or alter data if certain procedures are not scrupulously followed. Since
computer data is particularly vulnerable to inadvertent or intentional
modification or destruction, a controlled environment, such as a law

enforcement laboratory, is essential to conducting a complete and accurate

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analysis of the equipment and storage devices from which the data will be
extracted.

. The volume of data stored on many computer systems and storage
devices will typically be so large that it will be highly impractical to search for
data during the execution of the physical search of the premises; and

d. Computer users can attempt to conceal data within computer
equipment and storage devices through a number of methods, including the
use of innocuous or misleading filenames and extensions. For example, files
with the extension “jpg” often are image files; however, a user can easily
change the extension to “.txt” to conceal the image and make it appear that the
file contains text. Computer users can also attempt to conceal data by using
encryption, which means that a password or device, such as a “dongle” or
“keycard,” is necessary to decrypt the data into readable form. In addition,
computer users can conceal data within another seemingly unrelated and
innocuous file in a process called “steganography.” For example, by using
steganography a computer user can conceal text in an image file which cannot
be viewed when the image file is opened. Therefore, a substantial amount of
time is necessary to extract and sort through data that is concealed or
encrypted to determine whether it is contraband, evidence, fruits, or

instrumentalities of a crime.

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59. Additionally, based upon my training and experience and
information relayed to me by agents and others involved in the forensic
examination of computers, I know that routers, modems, and network
equipment used to connect computers to the Internet often provide valuable
evidence of, and are instrumentalities of, a crime. This is equally true of
wireless routers, which create localized networks that allow individuals to
connect to the Internet wirelessly. Though wireless networks may be secured
(in that they require an individual to enter an alphanumeric key or password
before gaining access to the network) or unsecured (in that an individual may
access the wireless network without a key or password), wireless routers for
both secured and unsecured wireless networks may yield significant evidence
of, or serve as instrumentalities of, a crime, including, for example, serving as
the instrument through which the perpetrator of the Internet-based crime
connected to the Internet and, potentially, containing logging information
regarding the time and date of a perpetrator’s network activity as well as
identifying information for the specific device(s) the perpetrator used to access
the network. Moreover, I know that individuals who have set up either a
secured or unsecured wireless network in their residence are often among the

primary users of that wireless network.

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60. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the
warrant I am applying for would permit seizing, imaging, or otherwise copying
storage media that reasonably appear to contain some, or all of the evidence
described in the warrant and would authorize a later review of the media or
information consistent with the warrant. The later review may require
techniques, including but not limited to computer-assisted scans of the entire
medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

PROCEDURE FOR UNLOCKING ENCRYPTED DEVICES

61. The search warrant requests authorization to use the biometric
unlock features of a device (including phones and computers), as described in
Attachment D, based on the following, which I know from my training,
experience, and review of publicly available materials:

a. Users may enable a biometric unlock function on some digital
devices (including phones and computers). To use this function, a user
generally displays a physical feature, such as a fingerprint, face, or eye, and
the device will automatically unlock if that physical feature matches one the
user has stored on the device. To unlock a device enabled with a fingerprint
unlock function, a user places one or more of the user’s fingers on a device's

fingerprint scanner for approximately one second. To unlock a device enabled

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with a facial, retina, or iris recognition function, the user holds the device in
front of the user’s face with the user’s eyes open for approximately one second.

b. In some circumstances, a biometric unlock function will not unlock
a device even if enabled, such as when a device has been restarted or inactive,
has not been unlocked for a certain period of time (often 48 hours or less), or
after a certain number of unsuccessful unlock attempts. Thus, the opportunity
to use a biometric unlock function even on an enabled device may exist for only
a short time. I do not know the passcodes of the devices likely to be found in
the search.

Thus, the warrant I am applying for would permit law enforcement
personnel to, with respect to any device that appears to have a biometric sensor
and falls within the scope of the warrant: (1) depress Alec Joseph WHITE’s
thumb and/or fingers on the device(s); and (2) hold the device(s) in front of Alec
Joseph WHITE’s face with his eyes open to activate the facial-, iris-, and/or

retina-recognition feature.

CONCLUSION

62. Based on the foregoing, there is probable cause to believe that the
federal criminal statutes cited herein have been violated, and that the
contraband, property, evidence, fruits, and instrumentalities of these offenses,

more fully described in Attachment D, are located at the SUBJECT

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PREMISES, described in Attachment A, on the person of Alec Joseph WHITH,
described in Attachment B, and in the SUBJECT VEHICLE, described in
Attachment C. I respectfully request that this Court issue search warrants for
the location(s) and/or person described in Attachment A, B and C, authorizing
the seizure and search of the items described in Attachment D.

/S/William Thompson

William Thompson

Special Agent
Homeland Security Investigations

Pursuant to Rule 4.1 of the Federal Rules of Criminal Procedure, the affiant
appeared before me via reliable electronic means (telephone), was placed under
oath, and attested to the contents of the written affidavit.

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HON. L. PATRICK AULD
UNITED STATES MAGISTRATE JUDGE
MIDDLE DISTRICT OF NORTH CAROLINA

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ATTACHMENT A

(Description of Property to be Searched)

The entire premises located at 100 Village Circle Way, Apartment 532,
Durham, North Carolina 27713, (all which constitute the SUBJECT
PREMISES. The SUBJECT PREMISES is a single-story, single-family
apartment on the third floor of building 500, a multi-unit primarily beige-
colored apartment building with dark trim and a shingled roof, inside the
Southpoint Village Apartments community. The numerals “500” are posted on
the wall of the building near the stairs leading to the SUBJECT PREMISES
and the numerals “532” are posted on the front door of the SUBJECT
PREMISES. A photo of the front of building 500, including the stairwell
leading to the SUBJECT PREMISES, and a photo of the SUBJECT

PREMISES’ front door are below:

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ATTACHMENT B

(Person to be Searched)

Alec Joseph WHITE (depicted above)

DOB: 04/13/1990

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ATTACHMENT C
(Description of Vehicle to be Searched)
The vehicle, and digital devices contained therein, described as follows:
a white 2019 Toyota Camry assigned NC license plate number B124CP and

registered to Alec Joseph WHITE at the SUBJ ECT PREMISES.

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ATTACHMENT D

(Items to be Seized)

The following materials, which constitute evidence of the commission of a
criminal offense, contraband, the fruits of crime, or property designed or
intended for use, or which is or has been used as the means of committing a
criminal offense, namely violations of Title 18, United States Code, Sections
2252A(a)(2)(A) and 2252A(a)(5)(B):

1. Computers or storage media that could be used as a means to commit
the violations described above, and on which the things described in this
warrant could be stored, which may then be searched for the items set
out below.

2. Routers, modems, and network equipment used to connect computers to
the Internet.

3. Child pornography and child erotica.

A. Records and information relating to violations of the statutes described
above in the form of:

a. Records and information referencing or revealing the occupancy or
ownership of the SUBJECT PREMISES, 100 Village Circle Way,

Apartment 532, Durham, North Carolina 277138;

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b. Records and information referencing or revealing the use or
ownership of the Coinbase account with User ID
5e94b88a25792claafb3leb9;

c. Records and information referencing or revealing the use of Tor to
access the Tor .onion website entitled 24 Teen Porn 24 — Teen Sex
Videos;

d. Records and information referencing or revealing the distribution,
advertising, or possession of child pornography, to include the
identity of the individuals involved and location of occurrence;

e. Records and information referencing or revealing a sexual interest
in children or the sexual exploitation of children, to include the
identity of the individuals involved and location of occurrence;

f. Records and information referencing or revealing communication
or interaction of an illicit sexual nature with minors, to include the
identity of the individuals involved and location of occurrence;

g. Records and information referencing or revealing participation in
groups or the use of services that are known to be used to facilitate
the distribution and/or storage of child pornography;

h. Records and information referencing or revealing the use of remote

computing services such as email accounts or cloud storage.

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5. For any computer or storage medium whose seizure is otherwise
authorized by this warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the
time the things described in this warrant were created, edited,
deleted, viewed, or otherwise interacted with;

b. evidence of how and when the COMPUTER was used to create,
edit, delete, view, or otherwise interact with or engage in the
things described in this warrant;

c. evidence of the attachment to the COMPUTER of other storage
devices or similar containers for electronic evidence;

d. evidence of the Internet Protocol addresses used by the
COMPUTER;

e. passwords, encryption keys, and other access devices that may be
necessary to access the COMPUTER;

f. documentation and manuals that may be necessary to access the
COMPUTER or to conduct a forensic examination of the
COMPUTER;

g. evidence of software that would allow others to control the

COMPUTER, such as viruses, Trojan horses, and other forms of

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malicious software, as well as evidence of the presence or absence
of security software designed to detect malicious software;

h. evidence of the lack of such malicious software;

1. evidence of programs (and associated data) that are designed to
eliminate data from the COMPUTER;

6. During the course of the search, photographs of the location to be
searched may be taken to record the condition thereof and/or the location
of items therein.

As used above, the terms “records” and “information” includes all forms of
creation or storage, including any form of computer or electronic storage (such
as hard disks or other media that can store data); any handmade form (such
as writing); any mechanical form (such as printing or typing); and any
photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical,
electrochemical, or other high speed data processing devices performing
logical, arithmetic, or storage functions, including desktop computers,
notebook computers, smartphones, mobile phones, tablets, server computers,

and network hardware.

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The term “storage medium” includes any physical object upon which
computer data can be recorded, including external and internal hard drives,
flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming
systems, SIM cards, cellular phones capable of storage, floppy disks, compact
discs, magnetic tapes, memory cards, memory chips, and other magnetic or
optical media.

During the execution of the search of the SUBJECT PREMISES as
described in Attachment A, Alec Joseph WHITE’s person as described in
Attachment B, and the SUBJECT VEHICLE described in Attachment C, law
enforcement personnel are also specifically authorized to compel Alec Joseph
WHITE if present at the time of the execution of the warrant, to provide
biometric features, including pressing fingers (including thumbs) against
and/or putting a face before the sensor, or any other security feature requiring
biometric recognition, of:

a. any of the DEVICES found at the SUBJECT PREMISES, on Alec
Joseph WHITE’s person, and in the SUBJECT VEHICLE, and

b. where the DEVICES are limited to which are capable of containing
and reasonably could contain fruits, evidence, information,
contraband, or instrumentalities of the offense(s) as described in

the search warrant affidavit and warrant attachments, for the

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purpose of attempting to unlock the DEVICES’ security features
in order to search the contents as authorized by this warrant, but
only if Alec Joseph WHITE is present at the time of the execution
and the process is carried out with dispatch in the immediate
vicinity of the SUBJECT PREMISES, on Alec Jospeh WHITH, or
in the SUBJECT VEHICLE.

This warrant does not authorize law enforcement personnel to compel
any other individuals found at the SUBJECT PREMISES to provide biometric
features, as described in the preceding paragraph, to access or otherwise
unlock any DEVICE. Further, this warrant does not authorize law
enforcement personnel to request that any individuals present at the
SUBJECT PREMISES state or otherwise provide the password or any other
means that may be used to unlock or access the DEVICES, including by
identifying the specific biometric characteristics (including unique finger(s) or
other physical features) that may be used to unlock or access the DEVICES.

PRECAUTIONARY INSTRUCTIONS TO PRESERVE POTENTIAL

PRIVILEGES

If, during the execution of this warrant, the government discovers

materials that are potentially attorney-client privileged or subject to the work

product doctrine (“protected materials”), the Prosecution Team will

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discontinue its review until the potentially protected materials have been
segregated from other evidence obtained under this warrant. Prior to any
further review of the identified potentially protected materials, the
Government will notify the Court of the need to establish a court-approved

process for review and filtering of the potentially protected materials.

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